         Case 1:23-cr-00257-TSC Document 197 Filed 08/03/24 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

          v.
                                                                Criminal Action No. 23-257 (TSC)
 DONALD J. TRUMP,

                 Defendant.


                                              ORDER

       The court has regained jurisdiction over this case. See Mandate, United States v. Trump,

No. 23-3228 (D.C. Cir. Aug. 2, 2024). The court accordingly ORDERS the following:

       A status conference in this matter is hereby scheduled for August 16, 2024 at 10:00 A.M.

in Courtroom 9. The requirement of Defendant’s appearance is waived for the conference. By

August 9, 2024, the parties shall confer and file a status report that proposes, jointly to the extent

possible, a schedule for pretrial proceedings moving forward. If necessary, the parties may

explain any disagreements in separate sections of the report.

       Defendant’s Motion to Dismiss the Indictment Based on Statutory Grounds, ECF No.

114, is hereby DENIED without prejudice. Defendant may file a renewed motion once all issues

of immunity have been resolved. Briefing deadlines with respect to the Government’s Motion in

Limine, ECF No. 191, and Motion for CIPA Section 6(a) Hearing, are hereby stayed. The court

will set additional deadlines following the August 16, 2024 status conference.



Date: August 3, 2024

                                                   Tanya S. Chutkan
                                                   TANYA S. CHUTKAN
                                                   United States District Judge

                                             Page 1 of 1
